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                       THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION
	  

DISPLAY TECHNOLOGIES, LLC,


                     Plaintiff,                     Civil Action No. 2:17-cv-00070
                v.                                   JURY TRIAL DEMANDED
HTC AMERICA, INC.,

                     Defendant.


                       CORPORATE DISCLOSURE STATEMENT

	      Plaintiff Display Technologies, LLC is a Texas limited liability company.    Display

Technologies, LLC has no parent corporation, and no publicly held company owns 10% or more

of its stock.

Dated: January 23, 2017                          Respectfully submitted,

                                                 /s/ Thomas C. Wright
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